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                           Exhibit A
           Case: 1:18-cv-05369 Document #: 177-1 Filed: 07/14/20 Page 2 of 18 PageID #:4261


Ives, Erik J.

From:                                  Ives, Erik J.
Sent:                                  Tuesday, July 14, 2020 12:18 AM
To:                                    'jon.swenson@bakerbotts.com'; andrew.wilson@BakerBotts.com; Vanderporten, Steven
                                       L.; karina.smith@bakerbotts.com; hop.guy@BakerBotts.com
Cc:                                    Koropp, David E.; Reynolds, Steven J.
Subject:                               RE: Status Report [IWOV-iManage.FID278983]


Jon:

As stated in multiple communications below, we cannot file the proposed status report in which Defendants
have materially altered Ubiquiti’s own statements.

If you are not available due to a personal matter, then we will wait to file until the morning after we have
received Defendants’ separate position statement. If you would like to schedule a call to discuss this matter prior
to such filing, we are available at any time tomorrow morning. I am also available until 12:30 a.m. cst, but will be
logging‐off at that point unless I hear from you before that time.

Thanks,

Erik


Erik J. Ives
eives@foxswibel.com | 312‐224‐1239 (direct)


FOX SWIBEL LEVIN & CARROLL LLP
200 W. Madison Street, Suite 3000 | Chicago, Illinois 60606
www.foxswibel.com | 312‐224‐1200 (main) | 312‐224‐1201 (fax)

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your system. Thank you.



From: jon.swenson@bakerbotts.com [mailto:jon.swenson@bakerbotts.com]
Sent: Tuesday, July 14, 2020 12:06 AM
To: Ives, Erik J.; andrew.wilson@BakerBotts.com; Vanderporten, Steven L.; karina.smith@bakerbotts.com;
hop.guy@BakerBotts.com
Cc: Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report [IWOV-iManage.FID278983]

Erik,

We haven’t made any last minute changes. Ubiquiti has delayed to the last minute (and past) despite us sending you our
proposals four days ago. I can’t get on a call at this hour as I have to attend to personal matters with my small children.
Please file our proposed status report and we can work out any responses/issues in future filings tomorrow.

                                                                     1
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Thanks,

Jon

Jon V. Swenson
T +1.650.739.7514
M +1.650.773.9185


From: Ives, Erik J. <eives@foxswibel.com>
Sent: Monday, July 13, 2020 9:57 PM
To: Swenson, Jon <jon.swenson@bakerbotts.com>; Wilson, Andrew <andrew.wilson@BakerBotts.com>; Vanderporten,
Steven L. <svanderporten@foxswibel.com>; Smith, Karina <karina.smith@bakerbotts.com>; Guy, Hop
<hop.guy@BakerBotts.com>
Cc: Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J. <sreynolds@foxswibel.com>
Subject: RE: Status Report [IWOV‐iManage.FID278983]


[EXTERNAL EMAIL]


Jon – we will not be filing a “joint status report” in which you revised Ubiquiti’s own statements (nor do
Defendants have our authority to do so). We are likewise scrambling to prepare our own statement as a result of
your last minute changes, and thus we are in the same position. Please call me at 773‐339‐3171 to discuss how we
can best address this matter.

Thanks,

Erik

Erik J. Ives
eives@foxswibel.com | 312‐224‐1239 (direct)


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200 W. Madison Street, Suite 3000 | Chicago, Illinois 60606
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your system. Thank you.



From: jon.swenson@bakerbotts.com [mailto:jon.swenson@bakerbotts.com]
Sent: Monday, July 13, 2020 11:54 PM
To: Ives, Erik J.; andrew.wilson@BakerBotts.com; Vanderporten, Steven L.; karina.smith@bakerbotts.com;
hop.guy@BakerBotts.com
Cc: Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report [IWOV-iManage.FID278983]

Erik,


                                                                     2
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This is unacceptable. We are less than 15 minutes away from the deadline for submission and we still do not have
plaintiff’s positions. In addition, plaintiff has removed our positions from the status report entirely that we provided well
in advance. This is hardly a joint submission and has not been done in a timely manner.

Please file our proposed status report that we sent you last. You can provide any comments that you would like in a
separate report and we reserve the opportunity to respond if we need to. Please also include this correspondence with
the filing.

Thanks,

Jon

Jon V. Swenson
T +1.650.739.7514
M +1.650.773.9185


From: Ives, Erik J. <eives@foxswibel.com>
Sent: Monday, July 13, 2020 9:40 PM
To: Swenson, Jon <jon.swenson@bakerbotts.com>; Wilson, Andrew <andrew.wilson@BakerBotts.com>; Vanderporten,
Steven L. <svanderporten@foxswibel.com>; Smith, Karina <karina.smith@bakerbotts.com>; Guy, Hop
<hop.guy@BakerBotts.com>
Cc: Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J. <sreynolds@foxswibel.com>
Subject: RE: Status Report [IWOV‐iManage.FID278983]


[EXTERNAL EMAIL]


Jon and Andrew:

Attached is a re‐organized draft of the status report, in which information regarding the source code
appointments and location (where the parties were in agreement) is set forth at the outset in a joint
statement. On this point, we have included a new redline sentence (and explanatory comment) to address
Defendants’ last minute proposed deletion of language that you had previously agreed to regarding source code
inspection appointments. It is our hope that this language does not need to be included, but please advise per
our internal comment.

A separate section has been added for the parties to submit competing statements regarding the content of
Ubiquiti’s source code production, and any demands that defendants are now seeking to make regarding the
same. Please send us your re‐organized statement by no later than 11:50 p.m. in order to ensure we can meet the
filing deadline. We had attempted to reorganize your proposed changes on our own, but did not want to purport
to speak for Defendants.

With respect to the correspondence to be attached, we plan to attach this full meet/confer email exchange
(attaching the last redline version of the proposed joint report reflecting all parties proposed changes).

Thanks,

Erik

Erik J. Ives
eives@foxswibel.com | 312‐224‐1239 (direct)


                                                              3
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your system. Thank you.



From: Ives, Erik J.
Sent: Monday, July 13, 2020 11:20 PM
To: 'jon.swenson@bakerbotts.com'; andrew.wilson@BakerBotts.com; Vanderporten, Steven L.;
karina.smith@bakerbotts.com; hop.guy@BakerBotts.com
Cc: Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report [IWOV-iManage.FID278983]

Jon:

Ubiquiti cannot agree to submit the proposed report as drafted, as Defendants have unilaterally and materially
sought to modify Ubiquiti’s own statements, among other improper changes. Defendants’ last‐minute changes
will once again require that the parties submit competing statements to the Court. Based on the timing and
unsupported nature of these proposed changes, this of course raises a question as to whether this was
Defendants’ intention throughout this process – in which our office has sought to meaningfully meet/confer and
respond to each of the inquiries raised during last week’s meet/confer and throughout the drafting of this report.

We are working to re‐organize this report in order to set out the parties’ positions separately (where needed),
and will recirculate that version once ready.

Thank you,

Erik


Erik J. Ives
eives@foxswibel.com | 312‐224‐1239 (direct)


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200 W. Madison Street, Suite 3000 | Chicago, Illinois 60606
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your system. Thank you.



From: jon.swenson@bakerbotts.com [mailto:jon.swenson@bakerbotts.com]
Sent: Monday, July 13, 2020 11:12 PM
To: Ives, Erik J.; andrew.wilson@BakerBotts.com; Vanderporten, Steven L.; karina.smith@bakerbotts.com;
                                                                     4
          Case: 1:18-cv-05369 Document #: 177-1 Filed: 07/14/20 Page 6 of 18 PageID #:4265
hop.guy@BakerBotts.com
Cc: Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report [IWOV-iManage.FID278983]

Erik,

We disagree with your characterizations. We have been asking for Ubiquiti’s position for days but Ubiquiti has been
refusing to discuss these issues with us in a timely manner. All of the issues we raised relate to Ubiquiti’s deficient
source code production that we have previously raised with you or are in response to the draft of the draft status report
you recently sent. We will agree to submitting our proposed version of the status report with the correspondence if you
provide us the correspondence that you propose to submit in advance.

Thanks,

Jon

Jon V. Swenson
T +1.650.739.7514
M +1.650.773.9185


From: Ives, Erik J. <eives@foxswibel.com>
Sent: Monday, July 13, 2020 9:02 PM
To: Wilson, Andrew <andrew.wilson@BakerBotts.com>; Vanderporten, Steven L. <svanderporten@foxswibel.com>;
Swenson, Jon <jon.swenson@bakerbotts.com>; Smith, Karina <karina.smith@bakerbotts.com>; Guy, Hop
<hop.guy@BakerBotts.com>
Cc: Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J. <sreynolds@foxswibel.com>
Subject: RE: Status Report [IWOV‐iManage.FID278983]


[EXTERNAL EMAIL]


Andrew and Jon:

Defendants have deleted and materially modified Ubiquiti’s statements contained in this joint report, and have
attempted to raise new, previously unaddressed allegations without any factual support just one hour prior to the
deadline for filing – this despite having represented this evening that “your proposal to accept or revise our
previous statement would allow us to resolve our dispute (subject to our review of the proposed
language).” Please be advised that absent your agreement to remove these last‐minute changes, we intend to
attach a full copy of the enclosed correspondence to the status report in order to provide the Court with the
necessary information to understand the improper nature of these demands.

Please contact me immediately at 773‐339‐3171 to discuss this matter, including the logistics for how the parties
will be able to file a joint status report by this evening’s deadline.

Thank you,

Erik

Erik J. Ives
eives@foxswibel.com | 312‐224‐1239 (direct)



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your system. Thank you.



From: andrew.wilson@BakerBotts.com [mailto:andrew.wilson@BakerBotts.com]
Sent: Monday, July 13, 2020 10:38 PM
To: Vanderporten, Steven L.; jon.swenson@bakerbotts.com; karina.smith@bakerbotts.com; hop.guy@BakerBotts.com
Cc: Ives, Erik J.; Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report

Steve,

We made our changes in redline in the attached version.

Thanks,

Andrew Wilson
T +1.202.639.1312
M +1.301.807.6646
F +1.202.508.9336

Baker Botts L.L.P.
700 K Street, NW
Washington, D.C. 20001


From: Vanderporten, Steven L. <svanderporten@foxswibel.com>
Sent: Monday, July 13, 2020 10:34 PM
To: Wilson, Andrew <andrew.wilson@BakerBotts.com>; Swenson, Jon <jon.swenson@bakerbotts.com>; Smith, Karina
<karina.smith@bakerbotts.com>; Guy, Hop <hop.guy@BakerBotts.com>
Cc: Ives, Erik J. <eives@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J.
<sreynolds@foxswibel.com>
Subject: RE: Status Report


[EXTERNAL EMAIL]


Andrew,

Attached please find an updated Joint Status Report. We will look into the directory path for the full source code for the
registered versions of AirOS, which were produced. You have also raised a number of other issues below to which we
will respond in writing. However, as these issues are not immediately relevant for the filing of the Joint Status Report (per
your red-line revisions sent last Friday), please let us know if you approve of our most recent track-changes. Thanks.

Best,

Steven Vanderporten


                                                                     6
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Steven L. Vanderporten
svanderporten@foxswibel.com  312-224-1218 (direct)


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From: andrew.wilson@BakerBotts.com [mailto:andrew.wilson@BakerBotts.com]
Sent: Monday, July 13, 2020 5:45 PM
To: Vanderporten, Steven L.; jon.swenson@bakerbotts.com; karina.smith@bakerbotts.com; hop.guy@BakerBotts.com
Cc: Ives, Erik J.; Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report

Steve,

Thanks for looking into the overall AirOS code production issue. We’ll take a look to confirm at the next inspection.
Could you please provide the directory path to the full source code for the versions of AirOS so that we can direct our
expert to that code? Separately, are the respectively numbered directories numbered with respect to the RFP’s?

     1. Thanks for providing the
                                                         To the extent that it is also a partition name, could you please cite
        to where in your discovery responses you disclose that the                 partition contains Ubiquiti’s proprietary
        compilations of configuration and calibration data?
     2. We need to raise the issue that the Court required Ubiquiti to identify the 18 Files, including the configuration
        and calibration information, and that Ubiquiti has not done so, refuses to do so, and now (for the first time)
        claims that Defendants’ production is somehow deficient because they have not produced Ubiquiti’s proprietary
        code. This is an issue directly relevant to the logistics of Ubiquiti’s production of the 18 Files because it entirely
        shifts the burden of production to Defendants. It is therefore properly raised in this status report, and Ubiquiti
        may revise to incorporate this issue.
     3. We are requesting Ubiquiti to please produce the “compilations of data” that are proprietary and that are
        resident on or written to those partitions by Ubiquiti’s firmware so that we can evaluate them.
             a. As t               it seems unlikely that Ubiquiti’s firmware would write to this partition
                                                                                                          If Ubiquiti’s source
                 code merely reads this data, then there is no way Defendants can determine what is contained on
                           it by inspecting Ubiquiti’s code. Ubiquiti must produce the information from that partition so
                 that Defendants can inspect it. If the partition is written to, then Ubiquiti must identify what is written
                 by users and what is claimed as proprietary by Ubiquiti. Ubiquiti must produce the compilations of data
                                                    or identify the specific source code portions that contain and write the
                 allegedly proprietary data.
             b. As to       Ubiquiti must identify the portions of its 18 modules that contain the allegedly proprietary
                 compilations of data that are written to        so that we can understand what is being asserted.
     4. We do insist on raising this issue in the status report and your proposal to accept or revise our previous
        statement would allow us to resolve our dispute (subject to our review of the proposed language).

Thanks,

Andrew Wilson
                                                                          7
          Case: 1:18-cv-05369 Document #: 177-1 Filed: 07/14/20 Page 9 of 18 PageID #:4268
T +1.202.639.1312
M +1.301.807.6646
F +1.202.508.9336

Baker Botts L.L.P.
700 K Street, NW
Washington, D.C. 20001


From: Vanderporten, Steven L. <svanderporten@foxswibel.com>
Sent: Monday, July 13, 2020 5:20 PM
To: Wilson, Andrew <andrew.wilson@BakerBotts.com>; Swenson, Jon <jon.swenson@bakerbotts.com>; Smith, Karina
<karina.smith@bakerbotts.com>; Guy, Hop <hop.guy@BakerBotts.com>
Cc: Ives, Erik J. <eives@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J.
<sreynolds@foxswibel.com>
Subject: RE: Status Report


[EXTERNAL EMAIL]


Andrew,

That is not accurate, and therefore should not be included in any status report. We produced the full source code for the
three registered versions of AirOS. Additionally, in response to RFPs Nos. 2, 3, 7 and 8, we produced source code outside
the 18 Modules in separate respectively numbered directories, which are readily identifiable on the source code computer
in Palo Alto.

Below are our responses to the 4 issues raised in your earlier e-mail:

    1. We also identified            to you at the July 8 Meet-and-Confer. Ubiquiti also specifically disclosed
       in its responses to Defendants’ discovery.

    2. Again, we discussed               at the July 8 Meet-and-Confer. Defendants’ proposed arguments about Ubiquiti’s
       “proprietary interest” in the               is outside the scope of this status report on Defendants’ review of the 18
       Files. Although we believe it is inappropriately considered here, if you intend to make this misguided claim in a
       status report to the Judge on a separate issue, then we will reconsider the language sent in your prior version of
       the status report (sent Friday), and will respond accordingly. Please confirm you agree with this approach, and we
       will send a revised status report.

    3. As explained at the Meet-and-Confer


    4. Again,
                                                               However, consistent with our offer in response to No. 2, if
        you want to proceed with this statement in the status report, we will reconsider the language you sent Friday, and
        respond accordingly.

Please let us know if you agree with our proposal in Nos. 2 and 4 above to resolve our dispute and file a Joint Status
Report. Thank you.

Best,

Steve Vanderporten

Steven L. Vanderporten
svanderporten@foxswibel.com  312-224-1218 (direct)
                                                              8
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From: andrew.wilson@BakerBotts.com [mailto:andrew.wilson@BakerBotts.com]
Sent: Monday, July 13, 2020 2:40 PM
To: Vanderporten, Steven L.; jon.swenson@bakerbotts.com; karina.smith@bakerbotts.com; hop.guy@BakerBotts.com
Cc: Ives, Erik J.; Koropp, David E.; Reynolds, Steven J.
Subject: RE: Status Report

Steve,

Defendants recently learned that Ubiquiti has not produced any airOS code outside of the code for the 18 modules,
including the OpenWRT code on which that code is based. Could you please look into this issue as quickly as possible for
us? We will also need to revise the statement to the Court on this issue as well (i.e., to clarify that we are investigating
whether Ubiquiti has produced “the entire code base for the AirOS firmware”), which we initially agreed to based on
your representation.

Thanks,

Andrew Wilson
T +1.202.639.1312
M +1.301.807.6646
F +1.202.508.9336

Baker Botts L.L.P.
700 K Street, NW
Washington, D.C. 20001


From: Wilson, Andrew
Sent: Monday, July 13, 2020 3:01 PM
To: Vanderporten, Steven L. <svanderporten@foxswibel.com>; Swenson, Jon <jon.swenson@bakerbotts.com>; Smith,
Karina <karina.smith@bakerbotts.com>; Guy, Hop <hop.guy@BakerBotts.com>
Cc: Ives, Erik J. <eives@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J.
<sreynolds@foxswibel.com>
Subject: RE: Status Report

Steve,

As you know these changes are unacceptable. The status report should be modified as we initially revised to reflect the
following:
     1. We have no idea of what the                             you are referring to is (beyond
                 discussed during last week’s meet and confer). Please identify the                    by name to us now
        and indicate the date of today in the status report as the true date of disclosure. Otherwise please revise to
        state                as our initial draft recited.
     2. As we previously explained, Ubiquiti does not have a proprietary interest in                             because
        users create a substantial amount of it. Your contention that Defendants are now obligated to identify the
                                                                          9
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        compilations of user‐set data that Ubiquiti is claiming proprietary rights in is the exact opposite of the Court’s
        order requiring Ubiquiti to produce the 18 Files. As to the alleged                    we cannot provide any
        comment because we simply do not know what                  that refers to.
     3. We note that neither      nor the                                    that allegedly contain Ubiquiti’s proprietary
        compilations of data (that Ubiquiti has so‐far refused to produce) have been identified in the FAC as one of the
        18 Files.
     4. Defendants still require a clear identification of the “compilations of data” that Ubiquiti claims as proprietary
        and we cannot certify that the 18 modules have been produced absent that disclosure.

Please revise to be consistent with the current status of the review as discussed above or provide a draft with a format
that will allow Defendants to identify the actual status of these matters.

Thanks,

Andrew Wilson
T +1.202.639.1312
M +1.301.807.6646
F +1.202.508.9336

Baker Botts L.L.P.
700 K Street, NW
Washington, D.C. 20001


From: Vanderporten, Steven L. <svanderporten@foxswibel.com>
Sent: Monday, July 13, 2020 2:03 PM
To: Wilson, Andrew <andrew.wilson@BakerBotts.com>; Swenson, Jon <jon.swenson@bakerbotts.com>; Smith, Karina
<karina.smith@bakerbotts.com>; Guy, Hop <hop.guy@BakerBotts.com>
Cc: Ives, Erik J. <eives@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>; Reynolds, Steven J.
<sreynolds@foxswibel.com>
Subject: RE: Status Report


[EXTERNAL EMAIL]


Andrew,

Ubiquiti’s red-line revisions to your version of the Joint Status Report are attached. Please let us know if you have any
questions or further revisions. Thanks.

Best,

Steve Vanderporten

Steven L. Vanderporten
svanderporten@foxswibel.com  312-224-1218 (direct)


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                                                                          10
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From: andrew.wilson@BakerBotts.com [mailto:andrew.wilson@BakerBotts.com]
Sent: Friday, July 10, 2020 2:55 PM
To: Reynolds, Steven J.; jon.swenson@bakerbotts.com; karina.smith@bakerbotts.com; hop.guy@BakerBotts.com
Cc: Ives, Erik J.; Koropp, David E.; Vanderporten, Steven L.
Subject: RE: Status Report

Steve,

Defendants’ revisions are in the attached in track‐changes.

Thanks,

Andrew Wilson
T +1.202.639.1312
M +1.301.807.6646
F +1.202.508.9336

Baker Botts L.L.P.
700 K Street, NW
Washington, D.C. 20001


From: Reynolds, Steven J. <sreynolds@foxswibel.com>
Sent: Friday, July 10, 2020 11:11 AM
To: Wilson, Andrew <andrew.wilson@BakerBotts.com>; Swenson, Jon <jon.swenson@bakerbotts.com>; Smith, Karina
<karina.smith@bakerbotts.com>; Guy, Hop <hop.guy@BakerBotts.com>
Cc: Ives, Erik J. <eives@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>; Vanderporten, Steven L.
<svanderporten@foxswibel.com>
Subject: Status Report


[EXTERNAL EMAIL]


Andrew,

Attached is a draft status report, which is due on Monday. It is also subject to client review. Please provide your
revisions, if any, today.

‐Steve

Steve Reynolds
sreynolds@foxswibel.com  312-224-1249 (direct)  312-636-4674 (mobile)


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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                               Plaintiff,


                         v.

                                                          Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                               JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV

                               Defendants.


                                   JOINT STATUS REPORT

       Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Status Report pursuant to the

Court’s order that the Parties submit an updated status report on logistics for the disclosure of the

18 Files. Dkt. 174; see also Dkt. 170. Based on the disputes identified below, Defendants

contend that Ubiquiti has not complied with its obligations to produce the 18 Files to date and

requests that the Court order at least an additional status report and/or conference to discuss

Ubiquiti’s failure to produce the 18 Files that it has alleged form the basis of its case. Defendants

request immediate production of all the files asserted in this case or immediate dismissal.




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I.        Review of Ubiquiti Code

          Defendants, through their expert Mr. Atif Hashmi, inspected Ubiquiti’s source code in

the Palo Alto, California office of Simpson, Thacher & Bartlett LLP on June 25, 29, 30 and July

7.and 30 , and were scheduled to continue their inspection July 7–10 at the same location. Mr.

Hashmi conducted review on July 7 and canceled the remaining appointments on July 8–10.

          Ubiquiti alleges that it has made the source code for each version of the 18 modules

available except that Ubiquiti has indicated that it is unable to produce “Ubiquiti’s proprietary

compilations of data contained in its calibration and configuration files of the Firmware” (as

discussed in more detail below), as well as several registered versions of the entire code base for

the AirOS firmware. Defendants contend that Ubiquiti has not made the source code available

for AirOs or the 18 Files. Defendants contend that the source code does not include the

OpenWrt code (open source code) that is compiled with and incorporated into Ubiquiti’s AirOS

firmware. Ubiquiti contends that . Tthe source code for each version of the 18 modules is set out

in a separate folder and identified as the corresponding code by folder name. Defendants dispute

Ubiquiti’s contention.

          Defendants assert that Ubiquiti has not produced “Ubiquiti’s proprietary compilations of

data contained in its calibration and configuration files of the Firmware” as well as additional

information regarding the 18 Files (as discussed in more detail below). Ubiquiti does not

disagree that it has not produced this information. UUbiquiti has refused to provide this

information but instead has requested that Defendants produce and identify Ubiquiti’s code

advisedand has advised Defendants where the proprietary compilations of data allegedly reside

by identifying the names of the non-voluminous (small) partitions on the M-Series devices that

store such data. Defendants contend that they do not have access to those partitions and that



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Ubiquiti should produce information that is the subject of its claims contained in the First

Amended Complaint. Thus, Ubiquiti contends that the identity of what information in the

partitions Defendants (or the Elevate software) have accessed is in Defendants’ possession,

custody, and control; that it is their obligation to produce it; and that Defendants have improperly

refused to do so. Ubiquiti contends, and Defendants dispute, that it has also produced the source

code (e.g., the 18 modules) that read and/or write to those partitions.

          In the previous, July 6 Joint Status Report, Defendants described an “additional folder …

that appears to contain source code for an additional File (a 19th File) that was not listed in the

FAC.” Dkt. 173, p. 4. In a July 8 meet-and-confer, Ubiquiti’s counsel advised Defendants’

counsel that the “additional folder” referenced contains source code that is not compiled or run

on any Ubiquiti M-series device and contains historical files related to at least one of the 18

modules. Ubiquiti makes no claim or bases any part of its case based on this additional 19th File.

          Defendants also asserted that “Ubiquiti has not produced any folder that is readily

identifiable as containing ‘Ubiquiti’s proprietary compilations of data contained in its calibration

and configuration files of the Firmware’ as alleged to be part of Ubiquiti’s ‘Proprietary

Firmware’ in the FAC (see Dkt. 65, ¶39).” Dkt. 173, p. 4-5. In the July 8 meet-and-confer,

Ubiquiti’s counsel advised Defendants’ counsel that the proprietary compilations of data

contained in the calibration and configuration files are stored in two a two non-voluminous small

partitionss of the memory on the M-Series devices, and identified at least one of those that those

partitionss by name.1 During that same meeting, Defendants’ counsel stated that Defendants still

require a clear identification of the “compilations of data” that Ubiquiti is claiming proprietary

rights in because data in the partition named by Ubiquiti’s counsel is necessarily modified

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 The Parties dispute whether the second partition was identified by name during the meet-and-
confer call. Nevertheless, Ubiquiti identified both partitions by name in writing on July 13, 2020.

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extensively by users in the normal operation of Ubiquiti’s firmware, and Ubiquiti clearly has no

proprietary interest in at least the portions modified by users. Ubiquiti contests Defendants’

assertion about “proprietary rights,” but notes Defendants’ acknowledgment that they have been

able to analyze the data. Defendants dispute that they have had any opportunity to analyze any

data not produced by Ubiquiti and have requested Ubiquiti to immediately produce any such

information.TheThe parties are continuing to discuss the identification of these materials

Ubiquiti’s ability and willingness to identify those materials as part of their meet and confer

efforts.

           In terms of review locations, Ubiquiti has continued to investigate a location in Las

Vegas, Nevada, following Defendants renewed request on July 3. As Ubiquiti previously advised

the Court and Defendants, finding a review location in Las Vegas has been difficult, especially

given the COVID-19 circumstances. Nonetheless, the parties have agreed to continue to meet

and confer on this issue.


II.        Review of Cambium Code

           On June 10, Ubiquiti requested that Defendants identify a location near Potomac,

Maryland, at which its expert could inspect Cambium’s source code. In the July 7 meet-and-

confer, Defendants’ counsel advised Ubiquiti’s counsel that they have not been able to identify

such a location in either Potomac or Washington D.C. Thus, the difficulty in arranging source

code review has affected all parties. And, as with the location for Defendants’ review, the parties

have agreed to continue to meet and confer on arranging a location for Ubiquiti to review

Cambium’s source code.




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Dated: July 13, 2020                                 Respectfully submitted,

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